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UNITED STATES BANKRUPTCY COURT _
District of Colorado vonuern a EEO ayn

| ;
In re: MATTHEW CURTIS WITT | Case No.

17-17630-MER \

 

  

|
Debtor. |
| Chapter
Address: 2792 Greatwood Way | 7
Highlands Ranch, CO 80126 |
|
|
|

SSN; XXX-XX-4130

 

EX PARTE MOTION FOR 2004 ORDER FOR EXAMINATION BY NOEL WEST LANE
III PURSUANT TO FED. R BANKR. P. 2004 AND 9016, AND L.B.R. 2004-1 AND
FED.R.CIV.P. 45

 

Noel West Lane III, (“Lane”) submits the following Ex Parte Motion for 2004 Order Pursuant
to Fed.R.Bankr.P. 2004, 9016, L.B.R. 2004-1 and Fed.R.Civ.P. 45 (the “Motion”). As grounds for
the Motion, Lane states as follows:

1. Matthew Curtis Witt (the “Debtor”), filed for protection under Chapter 7 of the
Bankruptcy Code on August 17, 2017 (the “Petition Date”).

2. Tom H. Connolly is the duly appointed Chapter 7 trustee (the “Trustee”) of the
Debtor’s bankruptcy estate.

3. David Kahn’s (“Kahn”) Ex Parte Motion for 2004 Order Pursuant to FED.R.Bankr.P
2004, 9016, L.B.R. 2004-1 and Fed.R.Civ.P.45 (“Motion”) has been granted.

4. _ Lane is a party of interest and a related party to David Kahn’s Ex Parte Motion for 2004
Order Pursuant to FED.R.Bankr.P 2004, 9016, L.B.R. 2004-1 and Fed.R.Civ.P.45. Lane and Kahn
are parties to an Information and Box Sharing Agreement dated February 26, 2016 (“Box
Agreement’), (See Exhibit A). The Box Agreement references Lane’s possession of 44 boxes of
alleged original documents withheld from the trustees for 09-17238-MER and 09-17437-MER by
Debtor. Lane maintains these 44 boxes contain amongst other evidence, incriminating personal
documents and records of the Debtor (“Debtor Documents”). Debtor has indirectly identified the
importance of the Debtor Documents to the matters at hand in written statements to Kahn (See
Exhibit B). This includes but is not limited to his seemingly desperate attempt to settle with Kahn
over his outstanding lien liability to Kahn (See Exhibit B).

 

 
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5. Debtor has issued a subpoena to Kahn and Lane for Debtor Documents (See Exhibit D).

6. Lane isa party of interest and a related party to Rekon, LLC (“Rekon”) v. Matthew Curtis
Witt in adversary proceeding 17-1548-MER. Lane and Rekon are parties of interest and parties
to a lien collection agreement dated March 18, 2014 (“Rekon Agreement”), See Exhibit E, which
purpose is to collect judgment(s) liens arising from the bankruptcies of Commercial Capital, Inc.,
09-17238-MER (“CCI”) and CCI Funding #1, LLC, 09-17437-MER (“CCIF”) . Lane and Kahn
are subjects of Rekon’s subpoena of Kahn and Lane in Rekon’s SUBPOENA TO PRODUCE
DOCUMENTS, INFORMATION, OR OBJECTS OR TO PERMIT INSPECTION OF
PREMISES IN A BANKRUPTCY CASE (OR ADVERSARY PROCEEDING), 17-1548-MER.

7. Rekon has issued a subpoena to Lane and Kahn for the Debtor Documents (See Exhibit
C).

8. Lane, Kahn, and Rekon are parties of interest and related parties in David Kahn’s Ex
Parte Motion for 2004 Order Pursuant to FED.R.Bankr.P 2004, 9016, L.B.R. 2004-1 and
Fed.R.Civ.P.45.

9. Lane, Kahn, and Rekon are parties of interest and related parties to Rekon’s SUBPOENA
TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS OR TO PERMIT
INSPECTION OF PREMISES IN A BANKRUPTCY CASE (OR ADVERSARY
PROCEEDING), 17-1548-MER.

10. The subject matter documents of the Rekon subpoena and the Debtor’s subpoena in 17-
17630-MER and related cases is 44 boxes of alleged original CCI and CCIF bankruptcy documents
and Witt personal and business records, Box Agreement, withheld from the trustees in 09-17238-
MER and 09-17437-MER.

11. Upon information and belief, the 44 Boxes requested by the bankruptcy subpoenas (See
Exhibits C and D), contain among other CCI and CCIF documents, original loan documents Witt
allegedly hid from the Trustees in furtherance of Witt’s conspiracy to commit fraud and Witt’s
commission of fraud upon Lane during the course of operating Witt’s business(s), and during his
filing for business and personal bankruptcy protection.

12. Upon information and belief, Witt hid these 44 boxes in a ministorage rental unit and
intentionally failed to pay the rental unit storage fee in the misinformed understanding that the
contents of the ministorage would be destroyed if the storage fee was not paid.

13. Upon information and belief, Kahn, a party who was also an investor in Witt’s bankrupt
commercial lending business, obtained the Boxes in a public auction of the Witt storage unit
contents after Witt abandoned the contents. Kahn obtained the Boxes upon the recommendation
of an 18th Judicial District Assistant District Attorney investigating Witt and his companies in the
matters of arson at 5301 University, Greenwood Village. The arson investigation of Witt and
Denver Haslam is still an open investigation.

 

 
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14. Lane obtained the Boxes from Kahn on or about 2/16/2016 as consideration for the
pickup, inventorying, partial cataloguing, and storage of approximately 44 Boxes for in excess of
three years. The Boxes contain among other things, original loan and commercial lending
documents of CCI and/or CCIF allegedly hidden from the Trustees by Witt. The Boxes are in
Lane’s possession and control at a location to be disclosed by court order. The Boxes were offered
to Plaintiff Witt and Defendant Rekon and all parties to 2017-cv-31212 and 16-cv-01303-KMT
on numerous occasions and conferral throughout the proceedings of both matters. All parties to
2017-cv-31212 and 16-cv-01303-KMT refused Lane’s offer each and every occasion the offer
was made.

15. Lane has been repeatedly named a defendant by Debtor in state court matters and federal
court matters allegedly centered on frustrating the collection of secured and/or judgment liens
against Debtor and others arising from the bankruptcies of Commercial Capital Inc. and CCI
Funding #1, LLC. Debtor was the President and sole shareholder of CCI. The Debtor’s
bankruptcy case numbers in the CCI matter are 09-17238-MER and 09-17437-MER. The Debtor
named Lane a defendant in case numbers 16-cv-01303-MSK-CBS and 2017-cv-31212 when
Debtor claimed Lane and six others, and Lane and eleven others respectively, were involved in a
conspiracy among other claims made by Debtor, to collect secured liens against Debtor, Debtor’s
wife Nicole Witt (““NWitt”), and other entities controlled by Debtor and NWitt.

16. Lane seeks authority to conduct an examination of Debtor Matthew C. Witt, Nicolle
Witt, Pinnacle Mastery, Ltd., Mile High Diesel, Inc., and Silver Leaf Mortgage, Inc. and any other
named entities discovered during examination that were allegedly used to hide assets, pursuant to
Fed.R.Bankr.P. 2004. The proposed examination of Debtor Matthew C. Witt, Nicolle Witt,
Pinnacle Mastery, Ltd., Mile High Diesel, Inc., and Silver Leaf Mortgage, Inc. shall include
inquiry into the Debtor’s and other examinees’ financial transactions prior to the bankruptcy
petition which may directly impact the administration of the estate and claims for fraudulent
conveyance.

17. Fed.R.Bankr.P. 2004(a) provides that on motion of any party in interest, the court may
order the examination of “any entity.” The term “entity” includes persons such as Debtor Matthew
C. Witt, Nicolle Witt, Pinnacle Mastery, Ltd., Mile High Diesel, Inc., and Silver Leaf Mortgage,
Inc. 11 U.S.C. § 101(15). The motion may be heard ex parte. See Advisory Committee Note to
Fed.R.Bankr.P. 2004.

18. The scope of Fed.R.Bankr.P. 2004(b) is very broad with respect to “discovering assets,
examining transactions, and determining whether wrongdoing has occurred.” In re Stecker, 251
B.R. 878, 882 (Bankr. D. Colo. 2000) (citation omitted). It is well-established that the scope of an
examination under Bankruptcy Rule 2004 is unfettered and broad. In re Vantage Petroleum Co.,
34 B.R. 650, 651 (Bankr. E.D.N.Y. 1983). Indeed, the examination can “legitimately be in the
nature of a fishing expedition”. In re M4 Enterprises, Inc., 190 B.R. 471, 474 (Bankr. N.D. Ga.
1995). See also, Inre Valley Forge Plaza Assocs., 109 B.R. 669, 674 (Bankr. E.D. Pa. 1990) (“Rule
2004 permits a party invoking, it to undertake a broad inquiry of the examiner, in the nature of a

 
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fishing expedition”); In re Frigitemp Corp., 15 B.R. 263, 264 n.3 (Bankr. S.D.N.Y. 1981) (noting
that predecessor to Rule 2004 examinations have been likened to “fishing expeditions”).

19. In conjunction with the examination of the Debtor Matthew C. Witt, Nicolle Witt,
Pinnacle Mastery, Ltd., Mile High Diesel, Inc., and Silver Leaf Mortgage, Inc., Lane seeks to
compel the production of certain records, pursuant to Fed.R.Bankr.P. 9016, which Creditor
believes are in the deponent’s possession, custody, or control. A summary of the proposed
documents to be produced is attached hereto as Exhibit F. The proposed order is incorporated
herein by reference.

20. Lane believes that it is necessary to obtain documentation regarding the financial
transactions of Debtor Matthew C. Witt, Nicolle Witt, Pinnacle Mastery, Ltd., Mile High Diesel,
Inc., and Silver Leaf Mortgage, Inc., from January 1, 2006 through the date of the bankruptcy
petition as he believes Debtor may have hidden or unreported assets. Lane requests that the Court
require Debtor Matthew C. Witt, Nicolle Witt, Pinnacle Mastery, Ltd., Mile High Diesel, Inc., and
Silver Leaf Mortgage, Inc. to produce certain documents listed in Exhibit A and allow the issuance
of a subpoena duces tecum on Debtor Matthew C. Witt, Nicolle Witt, Pinnacle Mastery, Ltd., Mile
High Diesel, Inc., and Silver Leaf Mortgage, Inc. to verify the accuracy of the produced documents
as well as other relevant matters.

21. Fed.R.Bankr.P. 2004(d) provides that the Court may, for cause shown and on terms as
it may impose, order the Debtor and any entity having information concerning the Debtor to be
examined at any time or place it designates, whether within or without the district wherein the case
is pending. The scope of the examination under Rule 2004 may relate to the acts, conduct, or
property or to the liabilities and financial condition of the debtor, or to any matter which may affect
the administration of the estate or the debtor’s right to a discharge.

22. Due to the extent of the documents requested, Lane requests that Debtor Matthew C.
Witt, Nicolle Witt, Pinnacle Mastery, Ltd., Mile High Diesel, Inc., and Silver Leaf Mortgage, Inc.
be required to produce the documents at the undersigned’s office located at 1060 Ingalls Street,
Lakewood, CO 80214 within 14-days of issuance of an Order by this Court granting this Motion
for Bankr.R. 2004 examination.

23. Lane requests that the Court compel the Rule 2004 examination of Debtor Matthew C.
Witt, Nicolle Witt, Pinnacle Mastery, Ltd., Mile High Diesel, Inc., and Silver Leaf Mortgage, Inc.
sought herein within four weeks of the Order by this Court granting this Motion for Bankr.R. 2004
examination.

WHEREFORE, Noel West Lane III respectfully requests that the Court enter an order in
substantially the same form as that attached hereto thereby authorizing Noel West Lane III and/or
his counsel to compel production of the documents described herein and compelling Debtor
Matthew C. Witt, Nicolle Witt, Pinnacle Mastery, Ltd., Mile High Diesel, Inc., and Silver Leaf
Mortgage, Inc. attendance at an examination to occur within four weeks of the Order granting this
Motion, and for such other and further relief as to this Court may seem just and proper.

Respectfully submitted on March 8, 2019.

 

 
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Noel West Lane ITI, In Pro se
1060 Ingalls Street

Lakewood, CO 80214

Phone Number: 303-697-0462

Exhibits

Exhibit A — Box Agreement

Exhibit B — Witt Email String; Attempt to Settle with Kahn

Exhibit C — Rekon Subpoena to Kahn and Lane vis-a-vis Box Agreement

Exhibit D — Witt Subpoena to Lane and Kahn vis-a-vis Box Agreement

Exhibit EK —- Rekon Agreement

Exhibit F — Exhibit A Instructions to Proposed Order for 2004 Examination by Lane

CERTIFICATE OF SERVICE

The undersigned hereby certifies that on March 8, 2019, I filed the foregoing in person with
the Clerk of the Court and mailed a copy of the filing by USPS to all counsel of record:

Attorneys for Attorneys and Address

Debtor Charles S. Parnell
4891 Independence Street, Suite
240 Wheat Ridge, Colorado 80033

Trustee

Tom H. Connolly
950 Spruce Street, Suite 1C
Louisville, Colorado 80027

Oe

Noel West Lane III, In Pro Se
1060 Ingalls Street
Lakewood, CO 80214

 
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INFORMATION AND BOX SHARING AGREEMENT
— ER BY DOS SELARING AGREEMENT

This agreement (“Agreement”) is made and entered into as of this 26th day of February, 2016, by and
between David Kahn ("Kabn" and/or "Disclosing Party") and Noel West Lane III ("Lane" and/or
Recipient") and no others (each a "Party," and collectively the "Parties").

WHEREAS, Disclosing Party, Kahn is willing to provide to Lane access to the contents of approximately
forty-four (44) boxes ("Boxes") of files which are owned solely by Kahn, for the purpose of supporting
their mutual interests. The contents of the Boxes possibly contain records that may be related to
business and/or personal records that could be of some value to either Party or the Parties.

WHEREAS, Lane is a party to a debt collection effort possibly involving entities related to the contents

of the Boxes. WHEREAS, Kabn is a party to a debt collection effort possibly involving entities related to
the contents of the Boxes.

WHEREAS, both Parties mutually agree that access to the boxes and the incremental payout schedule

which is subject to and predicated upon Lane's successful collection activity proposed herein is sufficient
consideration.

WHEREAS, both Parties agree that this Agreement is a mutual effort of both Parties and that subsequent
debt collection by Lane if successful is not intended to enrich Kalin beyond the principal amount of
Kahn’s judgement separately or collectively which consideration is reflected in Kahn’s incremental
distribution(s) of collected debt always occurring first pursuant to the Section titled “Good and Valuable
Consideration”, of this Agreement.

NOW THEREFORE, Parties mutually agree on behalf of themselves and their affiliates, employees,
officers, directors, representatives, agents, successors and assigns, as follows:

1. Any and all documents discovered that Receiving Party deems of interest, use, or benefit to either
Party, shall immediately be communicated in writing to Disclosing Party, Any documents
discovered and disclosed, in writing, upon inspection of the Boxes by the Receiving Party shall
not be shared by the Disclosing Party with Charlie Snider, Recon LLC or any members or
associates (“Snider”), another individual with potentially conflicting interests, without advanced
written consent of the Receiving Party. This constraint shall stand for a period of 12 months.

Any and all of the contents of the Boxes shall remain property of the Disclosing Party.
Information discovered by Lane may only be used or shared with a third party with advanced
written agreement by the Disclosing Party.

2. No disclosure or discussion of the contents of the Boxes shall grant the Receiving Party any right
or license to use, copy, transmit or otherwise disseminate associated findings without the express
prior written permission of the Disclosing Party.

3. This Agreement shall be considered in full force and effect once both Parties have received a
fully executed copy by hand delivery, postal mail, fax, or email,

4. Governance, This Agreement shall be governed by and construed in accordance with the
laws of the State of Colorado.

5. Term. This Agreement shall remain in full force and effect fora period of twenty (20)
years commencing on the last date of execution when signed by both Parties.

6. Injunctive Relief. It is hereby understood and agreed that damages may be an inadequate
remedy in the event of a breach of this Agreement, and that any breach will cause Parties
irreparable harm and damage. Accordingly, the Parties agree that the Parties shall be
entitled to injunctive and other equitable relief and shall be entitled to receive from the

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INFORMATION AND BOX SHARING AGREEMENT

other party all reasonable costs and expenses, including, without limitation attorney’ s
fees and costs, without waiving any additional rights or remedies available at law or in
equity or by statute.

7. Enforceability. If any part, term or provision of this Agreement shall be held illegal,
unenforceable, or in conflict with any law of the federal, state or local governments
having jurisdiction over the Parties or the subject matter of this Agreement, the validity
of the remaining portions or provisions of this Agreement shall not be affected thereby.

Any failure by a Party to exercise any right, power or privilege hereunder shall not operate as a
waiver thereof.

8. Dispute Resolution. Should a dispute between the Parties arise, the prevailing Party shall
be entitled to payment by the other Party for all reasonable fees, costs, expenses and/or
legal fees, costs and expenses

9. Good and Valuable Consideration. The Parties agree that should Lane's debt collection
efforts be successful, whether through his direct efforts, through a 3" party, or through an
agent or agreement with another party, including, without limitation, Rekon, LLC (a
Nevada LLC) or any/all entities related to Snider, then the following distribution of
collected monies (“Staged Distribution”) shall apply:

a. Lane agrees to distribute any proceeds from Lane's debt collection efforts equally
to Kahn and Lane, toward their respective principal and interest judgments, not to
exceed Kahn principal amount identified herein plus accrued penalties and
interest with Kahn being first in each distribution except that in no event of
individual distribution to Kahn shall the total of the individual distribution to
Kahn exceed more than half of the remaining undistributed amount recovered.

b. Principal Payout. All distributions to Kahn and, in tum, Lane shall be in
increments of $25,000.00 first to Kahn and then $25,000.00 to Lane until Kahn
has received a total of his judgment of $207,452 awarded on 6/4/2009 in
distributions.

¢. Interest & Penalty Payout: Once Kahn principal has been recovered in full and
Lane has an amount equal to Kahn’s principal distribution, the next $1,000,000
collected by Lane shall not be equally distributed to Kahn. Thereafter,
distributions shall resume, in turn, in increments of $25,000.00 first to Kahn and
then $25,000.00 to Lane until Kahn has received a total of his 8% interest
conipounded annually plus penalties.

d. Kahn and Lane mutually state and confirm that there are no third party obligations
and/or agreements, or other circumstance(s) at (“Conflicting Circumstance”) at
the time of this Agreement being signed, which in any way shall encumber, slow
or restrict the enforcement of this Agreement or the di stribution(s) of any/all
collections, if any.

IN WITNESS WHEREOF, the Parties have executed this Agreement as of the date first above
written, agree to be legally bound by the foregoing terms and conditions.

_ For:*Lane.-~) nf
By:

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INFORMATION AND BOX SHARING AGREEMENT
(signed name of Recipient)

Print Name: Noel West Lane II
For: Kahn

By:

 

(signed name of Recipient)

Print Name: David Kahn

 

 

 

 
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Exhibit & B

Matthew C. Witt Email String Confirming Witt’s Withholding of 44 boxes of Origin Commercial Capital,
Inc. Bankruptcy Files and Documents from Trustees in 09-17238-MER and 09-17437-MER

- Provenance and No Rule 408 Established: Matthew C, Witt as President of Silver
Leaf Mortgage, Email String forwarded to Noel Lane by David Kahn; No Rule
408 invoked.

- Matthew C. Witt Email String, 2/6/19 through and including 2/18/19 re: Kahn Lien
Payments by M. C. Witt, Nicole Witt, and Silver Leaf Mortgage; No Rule 408
invoked.

- Matthew C. Witt Threat to Kahn and Witt Acknowledgement of “importance” of 44

Boxes on 2/18/19 at 1:04 PM; No Rule 408 invoked:

“Can you immediately confirm that you will not sell the contents of the storage locker,
or let anyone view them? | know what is in the locker, and it is highly personal
records to me + and there is no reason that you or anyone else should have a right to
that,

Please make a decision on what you are going to do, by 1:30 today, or | will

be forced to protect myself and my family.”

 

From: David Kahn <david.kahn@delta.solutions>
Sent: Monday, February 18, 2019 1:12 PM

To: Noel Lane

Subject: Fwd: Matt Witt

David Kahn

david.kahn @delta.solutions

(303) 900-3434

   

DELTA

 

 

 

 

 

 

 

 

 

 

coe n ene Forwarded message ---------

From: David Kahn <email@davekahn.com>

Date: Mon, Feb 18, 2019 at 1:12 PM
Subject: Fwd: Matt Witt
To: Delta Contracts <contracts@delta.solutions>

David
(303) 900-3434

 

woenoeans Forwarded message ---------
From: Matt Witt <mattw@silverleafmortagages.com>

 

' Review of files contained in the file boxes of the 44 Boxes confirms that at least two of the 44 Boxes Matthew C.
Witt claims, “...are highly personal to me.”, are believed to in fact contain original loan and lending documents
withheld from the Commercial Capital, Inc. and CCT Funding #1, LLC bankruptcies filed by Witt in April 2009, as
the President and sole shareholder of Commercial Capital, Inc.

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Date: Mon, Feb 18, 2019 at 1:04 PM
Subject: RE: Matt Witt

To: David Kahn <email@davekahn.com>

David,

Can you immediately confirm that you will not sell the contents of the storage
locker, or let anyone view them? | know what is in the locker, and it is highly
personal records to me, and there is no reason that you or anyone else should
have a right to that.

Please make a decision on what you are going to do, by 1:30 today, or | will be
forced to protect myself and my family.

In good faith | made you good offers to try and get you paid.

| would encourage you to stop this other BS that you are focused on, and focus on
getting to an agreement that will get you paid.

Regardless, please let me know your intentions by 1:30pm.

Matt

Matt Witt, President and Operations Manager
6972 S. Vine Street #366 | Centennial, CO 80132

Office 720-458-4023 Fay 303-362-7812
Cell Phone 303-888-4531

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HOSTED BY KATHY MUNI & MATT WITT: 1220 AM and 95.3 FM Thursday 1:30PM & Saturday
Legends 810 AM and 94.3 EM Saturday 9AM

 

From: Matt Witt

Sent: Monday, February 18, 2019 12:36 PM
To: David Kahn

Subject: Re: Matt Witt

 

 

 
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I'm sitting hete with my attorney. Never mind wont work after you have threatened to sell
this highly personal information about me to charley snider or noel Jane. Stipulate to me
right now that you will not sell or let anyone view those documents, or i will have my
attorneys rush down and file a lawsuit against you and get and emergency injunction.

What is wrong with you. | made good offers to pay you, and you want to sell the debt to
the people who have sworn lifelong revenge to family?

Why do you want to hurt me and my family?
| will sit idly by and take the extortion blackmail and intimidation.
Will you agree to take no action on selling those documents?

Do you want to agree toa payment and put this behind us.

 

 

Sent via the Samsung Galaxy $7, an AT&T 4G LTE smartphone

waennn-- Original message --------

From: David Kahn <email@davekahn.com>

Date: 2/18/19 12:17 PM (GMT-07:00)

To: Matt Witt <Mattw@silverleafmortgages.com>
Subject: Re: Matt Witt

Never mind.
David
(303) 900-3434

 

 

 

 

On Mon, Feb 18, 2019 at 12:05 PM Matt Witt <mattw@silverleafmortgages,com> wrote:
How are the contents of the parker storage unit relevant to the timing? What do you want?
What did you pay for the storage unit contents. | will reimburse you that amount you paid
and in return you for the return for all of the documentation. Who contacted you?

 

 

 

Sent via the Samsung Galaxy $7, an AT&T 4G LTE smartphone

woe eaane Original message --------

From: David Kahn <email@davekahn.com>

Date: 2/18/19 11:42 AM (GMT-07:00)
To: Matt Witt <mattw@silverleafmortgages.com>
Subject: Re: Matt Witt

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I did not personally visit your unit, just had the boxes retrieved.

| am not asking for anything in particular. | am sharing the information as it seems
relevant to the timing of our stipulation discussion.

David
(303) 900-3434

 

 

 

 

On Mon, Feb 18, 2019 at 11:31 AM Matt Witt <Mattw@silverleafmortgages.com> wrote:
That is not truthful that you do not know where it was.

You have gone thru the storage unit. What is in there that you have conveyed to noel lane
Charley snider or David keil where they would want to buy it and use it against me? Overall
what are you asking for?

 

 

 

 

Sent via the Samsung Galaxy S7, an AT&T 4G LTE smartphone

nooeenns Original message --------

From: David Kahn <email@davekahn.com>

Date: 2/18/19 11:20 AM (GMT-07:00)
To: Matt Witt <Mmattw@silverleafmortaages.com>
Subject: Re: Matt Witt

| don't recall,

David
(303) 900-3434

 

 

On Mon, Feb 18, 2019 at 11:17 AM Matt Witt <matitw@silverleafmortgages.com> wrote:
Where was it located? Highlands ranch or parker or where?

 

 

 

 

Sent via the Sa msung Galaxy $7, an AT&T 4G LTR smartphone

waren Original message --------

From: David Kahn <email@davekahn.com>

Date: 2/18/19 10:41 AM (GMT-07:00)
To: Matt Witt <mattw@silverleafmortgages.com>
Subject: Re: Matt Witt

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You had a storage unit that you stored 40 or so boxes from your CCI days. From my
memory, you had defaulted on the unit and | purchased it.

David
(303) 900-3434

 

 

On Mon, Feb 18, 2019 at 10:34 AM Matt Witt <mattw@silverleafmortgages.com> wrote:
What storage unit are you talking about?

 

 

 

Sent via the Samsung Galaxy $7, an AT&T 4G LTE smartphone

woe annn= Original message --------

From: David Kahn <email@davekahn.com>

Date: 2/18/19 8:01 AM (GMT-07:00)

To: Matt Witt <Mattw@silverleafmortgades.com>
Subject: Re: Matt Witt

I've been contacted about interest in purchasing the lien and/or boxes from the storage
unit. Do you have input regarding that?

David
(303) 900-3434

 

 

On Sun, Feb 10, 2019 at 10:53 AM Matt Witt <mattw@silverleafmortgages.com> wrote:

Hi David, thats fine to put the proposals on hold. But I think it would make sense to have
Charles request a hearing to finalize. In two weeks if your counsel has questions then it may
take considerable time to complete.

Matt

 

 

Sent via the Samsung Galaxy $7, an AT&T 4G LTE smartphone

woteeee Original message --------

From: David Kahn <email@davekahn.com>

Date: 2/10/19 10:48 AM (GMT-07:00)

To: Matt Witt <mattw@silverleafmortgages.com>

Subject: Re: Matt Witt

'm reviewing Charles Parnell's proposed stipulation. Given my access to my legal counsel,
it will take longer than Charles has proposed, but | am motivated to move that forward as
soon as possible. Likely a couple of weeks needed.

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Let's address your communication once the stipulation is finalized.

David
(303) 900-3434

 

 

 

On Wed, Feb 6, 2019 at 5:43 PM Matt Witt <mattw @silverleafmortgages.com> wrote:
David:

| have decided to communicate with you directly about how | can get the money you are
owed paid. Please work with Charles Parnell to have the bankruptcy court enter an order
setting the amount of your lien that survives bankruptcy at $89,082.50, Otherwise, Charles
will not be part of these negotiations.

| understand that you want to be paid the full amount you are owed now, but | do not have
the ability to pay that kind of money in a lump sum. | want this matter resolved, and! am
making proposals on what | can realistically do financially.

My offers are based on certain parameters. | understand that you have been advised as a
matter of law you are not entitled to interest. Your remedy is to start a foreclosure, by filing
a lawsuit that would be costly and complicated by the fact | only own a half interest in my
home, the mortgage has to be paid and | have to be paid my homestead amount for any
foreclosure to occur, not including Nicolle’s half of the interest in the home. You would not
be entitled to recover any of your attorney fees or other costs. | will also of course never
allow my family’s home to go to foreclosure. Nicolle and | would be forced to continue to
use bankruptcy protection to protect us from creditors as yourself if you started the process
of foreclosure. In bankruptcy protection, we could take 5 years at no interest to pay your
lien, roughly $1483 per month. Starting a foreclosure under the present circumstances will
defeat the purpose of getting you paid as quickly as possible, by impairing my ability to
refinance and draw on the equity in my home. My proposals strengthen your Position, and
would make it easier for you to foreclose if it became necessary. So | hope you give them
consideration and consult with legal counsel.

Any agreement we reach will be documented in a well written contract to protect both of
us, by an attorney. These are the three options:

1. !can begin paying you $1,500 per month, which will get you paid off in five years. I can start
this plan and makea payment next week, but it has to be conditioned on your written agreement to

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2. The second option involves a couple of steps to execute, but pays you off in less than 3 years,
With the help of others who will loan me the money, | can pay you $30,082.50 immediately, In
addition, my wife Nicolle, who has a 23-year job with Hormel will personally guarantee the
remaining balance you are owed. This gives you a source of payment that you do not currently
have. You will be required to release your judgment lien immediately, and we will replace the
judgment with a Note and Deed of Trust,

This is immensely beneficial to you: (1) You end up with Nicolle’s guarantee; (2) the Deed of Trust
will give you a lien on the entire property rather than Just half; (3) language in the Deed of Trust
waives the homestead exemption; (4) a Deed of Trust is much easier to foreclose through the Public
Trustee’s office than filing a lawsuit for a judicial foreclosure; and (5) with a Deed of Trust you can
recover attorneys’ fees and costs.

of the property, In that time period, | will refinance my mortgage and pay you an additional
$30,000. At that time, we will replace the Note and Deed of Trust with documents showing the

3. The third option is that | use the borrowed funds to pay you $30,082.50 now and pay you
$3,000 per month thereafter. You will be required to release your lien, but will receive Nicolle’s
personal guarantee and a Note and Deed of Trust for the remaining $69,000 balance, This option
gives you less money up front but pays you off in less than 2 years.

The following terms apply to all three options:

a. If the Witt’s have financial hardship, the monthly payments can be reduced to $1,000 per
month, but interest will then begin to accrue at 8.0% per annum and continue until you are paid in
full.

c. You will not receive any financial statements, loan documents or any other private financial

d. You will agree that the debt owed to you, either in the form of your judgment lien or a Note and
Deed of Trust, cannot be transferred to any third party without the written consent of the Witts.

David, | look forward to coming to an amicable agreement with you.

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Kind Regards,

Matt

Matt Witt, Operations Manager
6972 S. Vine Street #366 I Centennial, Co 80122

Office 720-458-4023 Fax 303-362-7812
Cell Phone 303-888-4531

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& Saturday 2PM

Legends 810 AM and 94,3 FM Saturday 9AM

15

 

 

 
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Exhibit C

____ District of Colorado oe ae
oe
Inte MATTHEW CURTIS WITT
Oe  Debiop

(Complete if issued in an adversary Proceeding)

Case No._17-17630-MER

_ 7
REKON, LLC Chapter
Plaintiff
v. 7 -
MATTHEW CURTIS WITT Adv. Proc. No. 17-1548-MER
_ Defendant

To; David Kahn, 1114 Neon Forrest Circle, #2, Longmont, CO 80504; E-mail: email@davekahn.com
(Name of person to whom the subpoena is directed)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

By Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the

material:
PLACE Allen Vellone Woif Helfrich & Factor P.C. DATE AND TIME
Attn: Rachel A. Sternlieh Within 10 days of the date of
1600 Stout Street, Suite 1100, Denver, CO 80202 rvice i

CJ inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

DATE AND TIME

 

 

 

 

 

 

 

 

 

 

    
  

 

 

 

 

 

The following provisions of Fed. R. Civ. P, 45, made applicable in bankruptcy cases by Fed. R. Bankr. P. 901 6, are
attached ~ Rule 45(c), relating to the place of compliance; Rule 45(d), relating to your protection as a person subject to a
subpoena; and Rule 45(e) and 45(g), relating to your duty to respond to this subpoena and the potential consequences of not
doing so.

Date: 02/20/2019.

CLERK OF COURT
Signature of Clerk or Deputy Clerk Attorney's signature

 

 

The name, address, email address, and telephone mimber of the attorney representing (name of party)

Plaintiff, Rekon, LLC , Who issues or requests this subpoena, are: Allen Vellone Wolf Helfich & Factor P.C.
Patrick D. Vellone & Rachel A. Sterntieb; 1600 Stout St, Suite 1100, Denver CO, 80202; pvellone@allen-vellone.com; rsternliecb@allen-vellone.com

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things, or the
inspection of premises before trial, a notice and a copy of this subpoena must be served on each party before it ig served on
the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).

 

 
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B2570 (Form 2570 — Subpoena ta Produce Documents, Information, or Objects or To Permit Inspection in a Bankruptcy Case or Adversary Procecding) (Page 2)

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ, P. 45.)

received this subpoena for (name of individual and title, if any):
on (date)

 

[] 1 served the subpoena by delivering a copy to the named person as follows:

 

 

on (date) 5 Or

 

{-] T returned the subpoena unexecuted because:

 

 

Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also tendered to the
witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of $

My fees are $ for travel and $ for services, for a total of $

I declare under penalty of perjury that this information is true and correct.

Date:

 

Server's signature

 

Printed name and title

 

Server's address

Additional information concerning attempted service, etc.:

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B2570 (Form 2570 — Subpoena to Produec Documents, Information, or Objects or To Permit Inspection in a Bankruptcy Case or Adversary Proceeding) (Page 3)

Rederal Rule of Civil Procedure 45(c), (d), (e), and (g) (Effective 12/1/13)
(made applicable in bankruptcy cases by Rule 9016, Federal Rules of Bankruptcy Procedure)

(c) Place of compliance.

(1) For a Trial, Hearing, or Deposition. A subpoena may command a
person to attend a trial, hearing, or deposition only as follows:
(A) within 100 miles of where the person resides, is employed, or
regularly transacts business in person; or
(8) within the state where the person resides, is employed, or regularly
transacts business in person, if the person
() is a party or a party’s officer; or
(ii) is commanded to attend a trial and would not incur substantial
expense.

(2) For Other Discovery. A subpoena may command:

(A) production of documenis, or electronically stored information, or
things at a place within 100 miles of where the person resides, is employed,
or regularly transacts business in person; and

(B) inspection of premises, at the premises to be inspected.

(d) Protecting a Person Subject to a Subpoena; Enforcement,

(1) Avoiding Undue Burden or Expense; Sanctions. A party or
attorney responsible for issuing and serving a subpoena rust take
reasonable steps to avoid imposing undue burden or expense on a person
subject to the subpoena. The court for the district where compliance is
required must enforce this duty and impose an appropriate sanction —
which may include lost earnings and reasonable attomey's fees — on a
party or altorney who fails to comply.

(2) Conunand to Produce Materials or Permit inspection.

(A) Appearance Not Required. A person commanded to produce
documents, electronically stored information, or tangible things, or to
permit the inspection of premises, need not appear in person at the place of
production or inspection unless also commanded to appear far a deposition,
hearing, or trial.

(8) Objections. A person commanded to produce documents or tangible
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing or
sampling any or all of the materials or to inspecting the premises — or to
producing electronically stored information in the form or forms requested.
The objection must be served before the earlier of the time specified for
compliance or 14 days after the subpoena is served. If an objection is made
the following rules apply:

(i) At any time, on notice to the commanded person, the serving party
may move the court for the district where compliance is required for an
order compelling production or inspection.

(ii) These acts may be required only as directed in the order, and the
order must protect a person who is neither a party nor a party's officer from
significant expense resulting from compliance. :

>

(3) Quashing or Modifving a Subpoena.

(4) When Required. On timely motion, the court for the district where

compliznce is required must quash or modify a subpoena that:

(i) fails to allow a reasonable time to comply;

(ii) requires a person to comply beyond the geographical limits
specified in Rule 45(c);

(lil) requires disclosure of privileged or other protected matter, if no
exception or waiver applics; or

(iv) subjects a person to undue burden.

(B) When Permitted. To protect a person subject to or affected bya
subpoena, the court for the district where compliance is required may, on
motion, quash or modify the subpoena if it requires:

(i) disclosing a trade secret or other confidential research,
development, or commercial information; or

(ii) disclosing an unretained expert's opinion or information that does
not describe specific occurrences in dispute and results from the expert's
study that was not requested by a party,

(©) Specifving Conditions as an Alternative. In the circumstances
described in Rule 45(d)(3)(B), the court may, instead of quashing or
modifying a subpoena, order appearance or production under specified
conditions if the serving party:

(i) shows a substantial need for the testimony or material that cannot
be otherwise met without undue hardship; and

(ii) ensures that the subpoenaed person will be reasonably
compeusated,

(c) Duties in Responding to a Subpoena.

(1) Producing Documents or Electronically Stored Information. These
procedures apply to producing documents or electronically stored
information:

(A) Documents. A person responding to a subpoena to produce
documents must produce them as they are kept in the ordinary course of
business or must organize and label them to correspond to the categories in
the demand.

(B) Form for Producing Eleetronically Stored Information Not
Specified. If a subpoena does not specify a form for producing
electronically stared information, the person responding must produce it in
a form or forms in which it is ordinarily maintained or ina reasonably
usable form or forms,

(C) Electronically Stored Information Produced in Only Que Form. The
person responding need not produce the same electronically stored
information in more than one form.

(D) Inaccessible Electronically Stored Information. The person
responding need not provide discovery of electronically stored information
from sources that the person identifies as not reasonably accessible because
of undue burden or cost. On motion to compel discovery or for a protective
order, the person responding must show that the information is not
reasonably accessible because of undue burden or cost. [f that showing is
made, the court may nonetheless order discovery from such sources if the
requesting party shows good cause, considering the limitations of Rule
26(b)(2)(C). The court may specify conditions for the discovery,

(2) Claiming Privilege or Protection.

(A) Information Withheld. A person withholding subpocnaed
information under a claim that it is privileged or subject to protection as
trial-preparation material must:

(i) expressly make the claim; and

(ii) describe the nature of the withheld documents, communications,
or tangible things in a manner that, without revealing information itself
privileged or protected, will enable the parties to assess the claim.

(B) Information Produced. lf information produced in response to a
subpocna is subject to a claim of privilege or of protection as trial-
preparation material, the person making the claim may notify any party that
received the information of the claim and the basis for il. After being
notified, a party must promptly return, sequester, or destroy the specified
information and any copies it has; must not use or disclose the information
until the claim is resolved; nvust take reasonable steps to retrieve the
information if the party disclosed it before being notified; and may
promptly present the information under seal to the court for the district
where compliance is required for a determination of the claim. The person
who produced the information must preserve the information until the claim
is resolved,

(g) Contempt. The court for the district where compliance is required — and
also, after a motion is transferred, the issuing court ~ may hold in contempt
a person who, having been served, fails without adequate excuse to obey
the subpoena or au order related to it.

 

 

For access to subpoena materials, see Fed. R. Civ. P. 45(a) Commiltce Note (2013)

 

 

 

 
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EXHIBIT A

INSTRUCTIONS
1. These document requests call for all documents in your possession,
custody, or control, including documents which you have a right to secure from any
source, including obtaining copies from any bank. These sources include, but are not
limited to, banks, subsidiaries, affiliates, agents, employees, attorneys, accountants,
consultants, and advisors, and your agents, employees, attorneys, accountants,
consultants, and advisors.

2. If any responsive document was, but no longer is, in your possession or
custody or subject to your control, and cannot be obtained from any source, please
state what disposition was made of the document and the date or dates on which such
disposition was made.

3. The use of the singular includes plural, and vice versa.

4, If you claim that any requested document (or portion thereof) is
protected from disclosure by a privilege or other protection, please specify for each
such document:

The date or approximate date of preparation;

The author(s);

Address(es);

The recipient(s);

The number of pages;

The name and business address of the custodian;

The subject matter of the document; and

The basis for the claim of privilege or other protection.

pm > Bo Dp

5. If any document responsive to any request was at one time in existence,

but has been lost, discarded, or is otherwise presently unavailable, identify such

document as completely as possible, providing as much of the following information

as possible:

a. type of the document;

b. its date;

c. the date or approximate date it was lost, discarded, destroyed, or became
otherwise unavailable;

d. the reason or reasons for disposing of the document (if discarded or
destroyed);

e. the circumstances and manner in which it was lost, discarded or
destroyed;

f. the identity of all person(s) authorizing or having knowledge of the
circumstances surrounding the disposal of the documents;

 
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g. the identity of all person(s) who lost, discarded, or destroyed the
document;

h. the identify of all person(s) having knowledge of the contents thereof;
and

i, the request to which such document is responsive.

6. If any answer responsive to these discovery requests is withheld under
any claim of privilege or confidentiality, Debtor shall provide a provide a privilege log
for each such Document, information, communication or thing which identifies the
subject matter for which a privilege or confidentiality is claimed, including at least
the following information:

a. nature and date of the subject matter;

b. author;

c. the person or persons to whom the subject matter was conveyed, either
orally or in writing, together with their job title or position;

d. the basis upon which the privilege is claimed: and

e. the request to which each claim of privilege responds.

7. If the response to any request consists, in whole or in part, of any
objection(s) to the following discovery requests it must be stated and the reason(s) for
the objection(s) set forth.

8. If the response to any request consists, in whole or in part, of an
objection relating to burdensomeness, then with respect to such response:
a. provide such information as can be ascertained without undue burden;
b. state with particularity the basis for such objection, including:
1. description of the process or method required to obtain any fact
i. responsive to the interrogatory, and
ii, the estimated cost and time required to obtain any fact responsive
to the interrogatory.
c. describe the nature and extent of the documents or other source(s), if
any, from which any fact responsive to the request can be obtained; and
d. state whether the documents or other sources will be made available for
inspection and copying.

9, If any document responsive to any request was at one time in existence,
but has been lost, discarded, or is otherwise presently unavailable, identify such
document as completely as possible, providing as much of the following information
as possible:

a. type of the document;

b. its date;

c. the date or approximate date it was lost, discarded, destroyed, or became
otherwise unavailable;

 
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d. the reason or reasons for disposing of the document (if discarded or
destroyed);

e. the circumstances and manner in which it was lost, discarded or
destroyed;

f. the identity of all person(s) authorizing or having knowledge of the

. circumstances surrounding the disposal of the documents;

g. the identity of all person(s) who lost, discarded, or destroyed the
document;

h. the identify of all person(s) having knowledge of the contents thereof;
and the request to which such document is responsive.

DEFINITIONS:

10. The term “Debtor,” “you” and “your” in Exhibit A shall mean David Kahn
the answering party and any person acting or purporting to act or, at the time of the
stated subject matter, was acting or purporting to act for or on behalf of David Kahn
or anyone under its control, discretion, or instruction.

ll. The Phrase “Petition Date” shall refer to August 17, 2017, the date on
which Matthew Curtis Witt (the “Debtor”, filed for protection under Chapter 7 of the
Bankruptcy Code, case number 17-17630-MER.

12. The word “identity” or “identify” when used with respect to a document:
(1) the type of document or tangible thing (e.g., letter, memorandum, computer disk,
or other document or tangible thing); (2) the date that it was created; (8) its author
and signatories; (4) its addressees and all other persons receiving copies; and (5) the
nature and substance of the document with sufficient particularity to enable it to be
identified; and (6) its location and its custodian (or, if it is no longer within your
possession, custody, or control, state what disposition was made of it; state the date
of such disposition, identify every person who participated in or approved such
disposition; and identify the person or persons having knowledge of its contents). In
leu of identifying documents in the foregoing manner, YOU may identify them by
document number and produce such documents for inspection pursuant to C.B.C.P.
38(d),

13. “Document,” in either the singular or plural form, shall be construed in
its broadest sense and shall be synonymous in meaning and equal in scope to the
usage of this term in C.R.C.P. 34(a)(1). Document shall include, but is not limited to,
the original or a copy (as well as any drafts) of any written, printed, typed, recorded
or graphic matter, photographic matter, computerized records or programs, or sound,
tape, videotape, wire or electronic recording within your possession, custody or
control. This includes, without limitation, accounts, affidavits, agreements, books,
calendars, charts, correspondence, diaries, drafts, drawings, emails, expense reports,
faxes, graphs, invoices, letters, memoranda, minutes, motion pictures, newspaper

 

 
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articles, notebooks, notes, papers, photographs, publications, purchase orders,
receipts, records, reports, schedules, sketches, slides, speeches, statements, telephone
messages, text messages, or other similar objects, and shall also include any kind of
transcript, transcription, or recording of any conversation, oral statement, or
presentation of any kind, as well as other tangible things on which words, figures,
pictures, notations, or sound are recorded by any means, any such material
underlying, supporting, or used in the preparation thereof, and any other Documents
within Plaintiff's possession, custody, or control and electronically stored matter of
every kind and description.
14. “Relating to,” “referencing,” “referring to,” and “relate” shall mean to
consist of, pertain to, reflect on, arise out of, or be in any manner legally, factually, or
logically, directly or indirectly, expressly or impliedly, connected with the matter
requested.

15. “Person” means the plural as well as the singular and includes a natural
person, firm, association, organization, partnership, business, trust, corporation,
public entity, or any other form of legal entity.

16. The term “entity” includes any limited liability company, partnership,
limited partnership, corporation, sole proprietorship, cooperative, and/or S
Corporation.

17. The word “identity” or “identify,” when used with respect to a fact,
means (1) describe the fact; (2) state when it became known to YOU: (3) identify the
source from which YOU learned it; (4) identify the documents, record, show, or refer
to the fact; and (5) state why you believe the fact is true.

18. ‘The term “entity” includes any limited liability company, partnership,

limited partnership, corporation, sole proprietorship, cooperative, and/or §
Corporation.

19. “Produce” means, as set forth in C.R.C.P. 34(a)(1), to produce or permit
the party making the request, or someone acting on the respondent’s behalf, to inspect
and copy any Document, or to inspect and copy, test, or sample any tangible things
which constitute or contain matters within the scope of C_R.C.P. 26(b).

REQUESTS FOR PRODUCTION OF
DOCUMENTS FROM DAVID KAHN

1. Please produce any and all documents, statements, notes, memoranda,
files, and other materials relating to Matthew Curtis Witt that are contained in the
approximately 44 boxes in your possession, custody or control, which you obtained
from a storage unit or warehouse previously utilized by the Debtor.

 
Case:17-17630-MER Doc#:169 Filed:03/08/19 Entered:03/11/19 15:08:03 Page24 of 41

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182579 tForm 2370 ~ Subpoena to Produce Documents, Information, or Objects or To Permit Inspection in a Bankyuptey Case or Adversary Proceeding) aise } Oy GQ
wn BPE PE

 

 

UNITED STATES BANKRUPTCY COURT

District of Colorado
The Honorable Michael E. Romero
Jn re Matthew Curtis Witt

Debtor Case No.1 7-17630 MER
Chapter7
Rekean. LLC
Plaintiff Ady. Proc. No. }7-1548 MER
v
Matthew Curtis Witt
Defendant

SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS OR TO PERMIT
INSPECTION OF PREMISES IN A BANKRUPTCY CASE (OR ADVERSARY PROCEEDING)

To: Noel West Lane IIL.

 

x

 

 

Production. YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying. testing, or sampling of the
nyaterial:

 

 

PLACE: Appel, Lucas & Christensen, PC. 1624 Markel St, Suite 310. DATE AND TIME:

nyyer. CC 307 orats tf ; i agree : ritdat : : Peta =
Henver, CO 80202, or at such other time and place as the parties may agi “e upon Within 14 days of service of this subpoena

 

 

 

 

CJ Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or other
property possessed.or controlled by you at the time, date, and location set forth below, so that the requesting party may
inspect, Measure, survey, photograph, test, or sample the property or any designated object or operation on it.

PLACE. : , DATE AND TIME

 

 

 

 

 

 

The following provisions of Fed. R, Civ. P. 45, made applicable in bankruptcy cases by Fed. R. Bankr. P. 9016, are

attached — Rule 45(c), relating to the place of compliance; Rule 45(d), relating to your protection as a person subject toa
stlbpoena: and Rule 45(e) and 45(g), relating to your duty to respond to this subpoena and the potential consequences of not

doing so.

ie + .
Aitorney's signatee

Date: 2/21/19

 

‘The name, address, email address, and telephone number of the attorney representing Matthew Witt, who issues or requests
this subpoena, are: Appel, Lucas & Christensen, P.C.; 1624 Market St., Suite 310, Denver, CO 80202: (303) 297-9800:
schristensen@appellucas.com

 

 
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Notice to the person who issues or requests this subpoena
i this subpoena commands the production of documents. electronically stored information, or tangible things. or the
inspection of premises before trial, a notice and a copy of this subpoena must be served on each party before it is served on
ihe person to whom it is directed. Fed. R. Civ. P. 45(a)(4).

12570 (Vor 2370 ~ Subpoena to Produce Documents, In formation, or Objects or To Permit Inspection ina Bankruptey Case or Adversary Proceeding) {Page 2)

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

| received this subpoena for (name of individual and title, if any):
ou tated

 

 

 

 

 

on (date) :or

 

(_]1 returned the subpoena unexecuted because:

 

Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, | have also tendered to the
witness the fees for one day’s attendance. and the mileage allowed by law, in the amount of $

My fees are $ for travel and $ for services, for a total of $

 

| declare under penalty of perjury that this information ts true and correct.

Date:

 

 

Server's signature

 

Printed name aad tite

 

 

Server's address

Additional information concerning attempted service, Ctc.:

82570 (Fonn 2570— Subpoena to Produce Dacuments. Information, ar Objeets or To Pennil Inspection in a Bankraptcy Case or Adversary Proceeding) (Titze 3)

Federal Rule of Civil Procedure 45(c), (a), (e), and (g) (Effective 12/1/ 13)

(made applicable in bankruptcy cases by Rule 9016, Federal Rules of Bankruptcy Procedure) |

{ce} Place of compliance, (2) For Other Discovery. A subpoua nay command:
(A) production of documents, or eleclonically stored information. or things

11) Kora Trial, Hearing, or Deposition, A subpoena may command a at a place within 100 miles of where the person resides. is employed. or
person to attend a wial, heuring, or deposition only as follows: (A) regularly transacts business in person; and
within [QQ miles of where the person resides, is employed, or regularly (3) inspection of premises, at the premises to be inspected.
iransaets business in person: or .

(0) within che state where the person resides. is employed, ar regularly (d) Protecting a Person Subject to a Subpoena; Enforcement.

iransacts business in person, ifthe person
{id is a party oF a party’s officer: oF () Avoiding Undue Burden or Expense: Sanctions, \ party or

tii} is commanded to aitend a trial and would not incur substantial ailorney responsible tar issuing and serving a subpoena must take

expense, reasonable steps to avoid imposing undue burden or expense on 8 petson

 

 

 
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AMENDED EXHIBIT A
GENERAL INSTRUCTIONS AND DEFINITIONS

1. The term “document” or “documents” means all written or graphic
communications, and all written or graphic materials of every kind and description, however
produced or reproduced, whether draft or final, original or reproduction including, but not limited
to the following: letters; correspondence; memoranda; minutes; e-mail or other electronic
communications; notes; films; recordings of any type (mechanical, electronic, typed or written);
transcripts; contracts; calculations; ledgers, computer tapes; cards and printouts; memoranda of
telephone conversations; personal conversations or meetings; diaries; desk calendars; circulars;
pamphlets; periodicals; manuals; drawings; diagrams; statements; notices; reports; maps; studies;
statistics; telexes; telegrams; telefaxes; cables; disks; or diskettes; mteroffice or intra-office
communications; and any and all originals and non-identical copies or reproductions.

2. The term “communication” means the transmittal of information in the form of
facts, ideas, inquiries or otherwise, and specifically includes electronic mail.

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3. The term “person” means any natural person or any business, legal or governmental
entity or association, including corporations, partnership, associations and joint ventures.

4, The term “identify” (with respect to persons) requires a statement of all of the
following information, to the extent known: (a) the person's full name; (b) present employer and
title, if any; (c) present or last known home address and telephone number; (d) present or last
known occupation, employment and/or title, business address and telephone number, and (e)
relationship, if any, to you.

5. The term “identify” (with respect to a “person,” when not an individual) requires a
statement of all of the following information: (a) full name; (b) principal address; (c) telephone
numbers of principal offices or facilities; and (d) name(s) of person(s) controlling or managing the
entity or enterprise.

6. The term “identify” (with respect to documents) requires a statement of all of the
following information: (a) title, type, or description of documents (¢.g.. letter, memorandum,
report, etc.); (b) common name; (c) general subject matter(s); (d) date of the document, (e)
author(s) and signator(s); (f) recipient(s); name(s) and addressees) of each person having
possession, custody or control of the document(s); (h) file number(s), code(s), or other identifying
mark(s); and (i) all other information that serves to distinguish the document from other
documents.

7. The term “identify” (with respect to any “communication”), including any
telephonic communication, requires a statement of all of the following information: (a) the date

 

 
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on which the communication occurred; (b) the identity of each and every person who was present
during, or who participated in, the communication; (c) the subject(s) discussed; and (d) the identity
of all documents concerning the communication.

 

DOCUMENT PRODUCTION REQUESTS
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1. Please produce any and all documents, statements, notes, memoranda, files, and other
materials relating to Matthew Curtis Witt that are contained in the approximately 44
boxes in your possession, custody or control, which you obtained from a storage unit or
warehouse previously utilized by you, David Kahn or by Commercial Capital, Inc.

2. Please produce any and all documents, records, statements, notes, memoranda, files,
writings, electronically stored information, bank statements, account information and
other materials relating in any way to Matthew Curtis Witt that are in your possession,
custody or control.

3. Please produce any and all documents, records, statements, notes, memoranda, files,
writings, electronically stored information, bank statements, account information and
other materials relating in any way to Matthew Curtis Witt that are in your possession,
custody or control that you obtained from David Kiel.

4. ‘All documents related to the bankruptcy estate of Commercial Capital, Inc.

5. All communications related to the bankruptcy estate of Commercial Capital, Inc.

6. All documents related to any business you have conducted with Commercial Capital, Inc.

7. All communications related to any business you have conducted with Commercial
Capital, Inc.

8. All documents related to Matthew C. Witt.

9. All communications related to Matthew C. Witt.

10. All documents you removed from the office of Commercial Capital Inc.

11. All documents that you received from or are holding for the benefit of David Kahn.

12. All communications you have had with David Kahn and court filings you have drafted on
~ behalf of David Kahn.

 
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13. All communications you have had with Charles Snider, Jr, his attorneys, and David Keil
related to Commercial Capital Inc. or Matthew Witt.

 
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AGREEMENT

This Agreement is made by and between RhonLan, LLC ("Lane"), a Nevada limited
liability company and Rekon, LLC ("Rekon"), a Nevada limited liability company and
entered into on this 18th day of March 2014 ("Agreement").

RECITTALS:

Whereas, Rekon is the owner and holder of a certain assignment arising from claims
against DENVER HASLAM ("Haslam Note Assignment") arising out of a promissory
note executed on March 8, 2007 in favor of Commercial Capital, Inc. whose value is
approximately $3 ,212,463.55 plus interest, etc. assigned to Rekon, LLC on Febmary 14,
2014 by James Markus, Chapter 11 Trustee for Commercial Capital, Inc., and

Whereas, Rekon is the owner and holder of a certain assignment arising from claims
against MATT WITT ("Witt Judgment Assignment") arising out of a Judgment whose
value is approximately $1,636,458.34 plus interest, etc. assigned to Rekon, LLC on
February 14,2014 by James Markus, Chapter 11 Trustee for Commercial Capital Inc., and

Whereas, Rekon is the owner and holder of a certain assignment arising from claims
against Denver Haslam ("Haslam Judgment Assignmen ") arising out of a Judgment
being entered into Arapahoe County District Court being designated as District Court
Civil Action 2012CV835 whose value is approximately $4,582,480.76 plus interest, etc.
assigned to Rekon, LLC on March 18, 2014 by Noel West Lane Til, Manager for Fall
River Village Communities, LLC, and

Whereas, Rekon and Lane for good and valuable consideration, together entered into this
Agreement for purposes of collecting the Assignments and,

Whereas, Lane and Rekon have agreed as follows:

L. Rekon entered into separate Contingent Fee Agreements (" Fee
Agreements”) with RVM Law, LLC ("RVM") each for purposes of collecting on
the Haslam Note Assignment, Witt Judgment Assignment, and Haslam Judgment
Assignment (collectively " Assignments"), and

2. Rekon has agreed that Rekon will pay all costs of collection and fees, etc. in
accordance with the Fee Agreements entered into on March 18, 2014, and

3. Lane will at all times keep Rekon informed of RVM filings, suggestions,
and recommendations, cost estimates, etc, and all other matters that pertain to the
Agreements and collection of the assignments, and

 
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4, Lane will manage all day to day activities of the Agreement including RVM
coordination, invoice approval and payment, communications from and to RVM,
document review, filing(s) review, etc. and maintain the books and records of the

Agreement and Agreements, and

 

5. ‘Lane will confirm to RVM and Rekon by email all decisions of Rekon and
Lane per the Agreement, and.

NOW THEREFORE:

Rekon and Lane agree as follows with respect to any and all amounts collected in
judgment or settlement of the Fee Agreements:

1, ‘After RVM has received its contingent fee for a Fee Agreement, Rekon will
be first reimbursed for the costs and fees paid by Rekon for collection of a Fee

Agreement, and -
2. | Rekon and Lane will split the remaining amount of each Fee Agreement as
follows:

a. Haslam Note Assignment

Sixty (60%) percent to Lane
Forty (40%) percent to Rekon

“b. Witt Judgment Assignment

Twenty (20%) percent to Lane
Eighty (80%) percent to Rekon

c. Haslam Judgment Assignment

Sixty (60%) percent to Lane
Forty (40%) percent to Rekon

3, ’ MODIFICATION: This Agreement may not be modified, altered, or
amended in any manner except by an agreement in writing executed by the parties

hereto.

4. ‘ NOTICE: All notices required to be given to Lane shall be deemed given
when deposited in the United States Mail by certified mail, postage pre-paid to the

following address:
Rhonda L. Lane

1060 Ingalls Street
Lakewood,CO 80214

 
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All written notices to Rekon shail be deemed given upon deposit in the United States
Mail by certified mail, postage pre-paid to the following address:

Charles D. Snider
2807 Kings Crossing Drive
Kingwood, Texas 77345

or as otherwise directed in writing to Lane and Rekon.

IN WITNESS WHEREOR, the parties executed this Agreement this 18th day of March,

 

 

 

 

 

 

 

2014.
RhonLan, LLC: REKON, LLC:
CD, popes eo)
By: Abus whi. 7 _ NL By: ve i
(signature) (signatare) /

Rhonda L, Lane Charles D. Snider, Manager

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Exhibit F

Examination of the Debtor Matthew C. Witt, Nicolle Witt, Pinnacle Mastery, Ltd., Mile High
Diesel, Inc., and Silver Leaf Mortgage, Inc. and summary of the proposed documents to be
produced.

EXHIBIT A
INSTRUCTIONS

1. These document requests call for all documents in your possession, custody, or

control, including documents which you have a right to secure from any source, including
obtaining copies from any BANK. These sources include, but are not limited to, BANKS,
subsidiaries, affiliates, agents, employees, attorneys, accountants, consultants, and advisors, and
your agents, employees, attorneys, accountants, consultants, and advisors.

9. If any responsive document was, but no longer is, in your possession or custody or
subject to your control, and cannot be obtained from any source, please state what disposition
was made of the document and the date or dates on which such disposition was made.

3. The use of the singular includes plural, and vice versa.

4. If you claim that any requested document (or portion thereof) is protected from
disclosure by a privilege or other protection, please specify for each such document:

a. The date or approximate date of preparation;

b. The author(s);

c. Address(es);

d. The recipient(s);

e. The number of pages;

£. The name and business address of the custodian;

g. The subject matter of the document; and

h. The basis for the claim of privilege or other protection.

5. Lf any document responsive to any request was at one time in existence, but has been
lost, discarded, or is otherwise presently unavailable, identify such document as completely as
possible, providing as much of the following information as possible:

a. type of the document;

b. its date;

c. the date or approximate date it was lost, discarded, destroyed, or became
otherwise unavailable;

d. the reason or reasons for disposing of the document (if discarded or
destroyed);

e. the circumstances and manner in which it was lost, discarded or destroyed;

f, the identity of all person(s) authorizing or having knowledge of the
circumstances surrounding the disposal of the documents,

 
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g. the identity of all person(s) who lost, discarded, or destroyed the

document;
h. the identify of all person(s) having knowledge of the contents thereof; and

j. the request to which such document is responsive.

6. If any answer responsive to these discovery requests is withheld under any claim
of privilege or confidentiality, Debtor shall provide a provide a privilege log for each such
Document, information, communication or thing which identifies the subject matter for which a

privilege or confidentiality is claimed, including at least the following information:

a. nature and date of the subject matter;

b. author;
c, the person or persons to whom the subject matter was conveyed, either

orally or in writing, together with their job title or position;
d. the basis upon which the privilege is claimed; and
e. the request to which each claim of privilege responds.

7. If the response to any request consists, in whole or in part, of any objection(s) to the
following discovery requests it must be stated and the reason(s) for the objection(s) set forth.

8. If the response to any request consists, in whole or in part, of any objection relating
to burdensomeness, then with respect to such response:

a. provide such information as can be ascertained without undue burden;
b. state with particularity the basis for such objection, including:

 

1. a description of the process or method required to obtain any fact

responsive to the interrogatory, and
2. the estimated cost and time required to obtain any fact responsive to the

interrogatory.

c. describe the nature and extent of the documents or other source(s), if any,
from which any fact responsive to the request can be obtained; and
d. state whether the documents or other sources will be made available for

inspection and copying.

9, If any document responsive to any request was at one time in existence, but has been
lost, discarded, or is otherwise presently unavailable, identify such document as completely as
possible, providing as much of the following information as possible:

a. type of the document;

b. its date;
c. the date or approximate date it was lost, discarded, destroyed, or became

otherwise unavailable;
d. the reason or reasons for disposing of the document (if discarded or

destroyed);
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e. the circumstances and manner in which it was lost, discarded or destroyed,

f. the identity of all person(s) authorizing or having knowledge of the
circumstances surrounding the disposal of the documents;

g. the identity of all person(s) who lost, discarded, or destroyed the
document;

h. the identify of all person(s) having knowledge of the contents thereof; and

i. the request to which such document is responsive.

DEFINITIONS

10, The term “Debtor,” “you” and “your” in Exhibit A-1 shall mean Matthew C. Witt

the answering party and any person acting or purporting to act or, at the time of the stated subject
matter, was acting or purporting to act for or on behalf of Debtor or anyone under his control,
discretion, or instruction.

11. The term “you” and “your” in Exhibit A-2 shall mean Nicolle S. Witt the

answering party and any person acting or purporting to act or, at the time of the stated subject
matter, was acting or purporting to act for or on behalf of Nicolle S. Witt or anyone under her
control, discretion, or instruction.

12. The term “you” and “your” in Exhibit A-3 shall mean Pinnacle Mastery, Ltd., the

answering party and any person acting or purporting to act or, at the time of the stated subject
matter, was acting or purporting to act for or on behalf of Pinnacle Mastery, Ltd. or anyone under
its control, discretion, or instruction.

13. The term “you” and “your” in Exhibit A-4 shall mean Mile High Diesel, Inc., the

answering party and any person acting or purporting to act or, at the time of the stated subject
matter, was acting or purporting to act for or on behalf of Mile High Diesel, Inc. or anyone under
its control, discretion, or instruction.

14. The term “you” and “your” in Exhibit A-5 shall mean Silver Leaf Mortgage, Inc.,

the answering party and any person acting or purporting to act or, at the time of the stated subject
matter, was acting or purporting to act for or on behalf of Silver Leaf Mortgage, Inc. or anyone
under its control, discretion, or instruction.

15. The Phrase “Petition Date” shall refer to August 17, 2017, the date on which
Matthew Curtis Witt (the “Debtor”), filed for protection under Chapter 7 of the Bankruptcy
Code, case number 17-17630-MER.

16. The word “identity” or “identify” when used with respect to a document: (1) the

type of document or tangible thing (e.g., letter, memorandum, computer disk, or other document
or tangible thing); (2) the date that it was created; (3) its author and signatories; (4) its addressees
and all other persons receiving copies; and (5) the nature and substance of the document with
sufficient particularity to enable it to be identified; and (6) its location and its custodian (or, if it
is no longer within your possession, custody, or control, state what disposition was made of it;
state the date of such disposition, identify every person who participated in or approved such

 

 
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disposition; and identify the person or persons having knowledge of its contents). In lieu of
identifying documents in the foregoing manner, YOU may identify them by document number
and produce such documents for inspection pursuant to C.R.C.P. 33(d).

17. “Document,” in either the singular or plural form, shall be construed in its broadest

sense and shall be synonymous in meaning and equal in scope to the usage of this term in
C.R.C.P. 34(a)(1). Document shall include, but is not limited to, the original or a copy (as well as
any drafts) of any written, printed, typed, recorded or graphic matter, photographic matter,
computerized records or programs, or sound, tape, videotape, wire or electronic recording within
your possession, custody or control. This includes, without limitation, accounts, affidavits,
agreements, books, calendars, charts, correspondence, diaries, drafts, drawings, emails, expense
reports, faxes, graphs, invoices, letters, memoranda, minutes, motion pictures, newspaper
atticles, notebooks, notes, papers, photographs, publications, purchase orders, receipts, records,
reports, schedules, sketches, slides, speeches, statements, telephone messages, text messages, or
other similar objects, and shall also include any kind of transcript, transcription, or recording of
any conversation, oral statement, or presentation of any kind, as well as other tangible things on
which words, figures, pictures, notations, or sound are recorded by any means, any such material
underlying, supporting, or used in the preparation thereof, and any other Documents within
Plaintiffs possession, custody, or control and electronically stored matter of every kind and
description.

18. “Relating to,” “referencing,” “referring to,” and “relate” shall mean to consist of,
pertain to, reflect on, arise out of, or be in any manner legally, factually, or logically, directly or
indirectly, expressly or impliedly, connected with the matter requested.

19. “Person” means the plural as well as the singular and includes a natural person,
firm, association, organization, partnership, business, trust, corporation, public entity, or any
other form of legal entity.

20. The term “entity” includes any limited liability company, partnership, limited
partnership, corporation, sole proprietorship, cooperative, and/or S Corporation.

21. The word “identity” or “identify,” when used with respect to a fact, means (1)

describe the fact; (2) state when it became known to YOU; (3) identify the source from which
YOU learned it; (4) identify the documents, record, show, or refer to the fact; and (5) state why
you believe the fact is true.

22. The term “entity” includes any limited liability company, partnership, limited
partnership, corporation, sole proprietorship, cooperative, and/or § Corporation.

23. “Produce” means, as set forth in C.R.C.P. 34(a)(1), to produce or permit the party
making the request, or someone acting on the respondent’s behalf, to inspect and copy any

Document, or to inspect and copy, test, or sample any tangible things which constitute or contain
matters within the scope of C.R.C.P. 26(b).

Exhibit A-1

 

 
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REQUESTS FOR PRODUCTION OF DOCUMENTS FROM
DEBTOR MATTHEW C. WITT

1. Produce a full and complete copy of any bank statements for any account held by
you, whether held individually or jointly with any other person or entity since January 1, 2006
through the Petition date.

2. Produce a full and complete copy of all documents reflecting or related any real or

personal property purchased from January 1, 2006 through the Petition date, with a purchase
price in excess of $1,000.00, including but not limited to (a) marketable securities, (b) bonds, (c)
mutual funds, (d) precious metals, (e) fractional interests in real estate or mineral rights, (H
commodities, livestock, or futures in commodities or livestock, and/or (g) jewelry, gems, and/or
gold.

3, Produce a full and complete copy of any statements or any documents reflecting or
related to any insurance policies, annuities, and/or leases for real or personal property from
January 1, 2006 through the Petition date.

4, Produce a full and complete copy of any statements for any account for which you are

an owner or a beneficiary in any way from January 1, 2006 through the Petition date, including
but not limited to: (a) savings accounts, (b) certificates of deposit, (c) Individual Retirement
Accounts, (d) 401(k) accounts, (e) Simplified Employee Pension Plan, (f) Roth accounts, (g)
pension accounts, (h) annuities, and/or (h) profit sharing accounts.

5. Produce a full and complete copy of any credit card statements or accounts from
January 1, 2006 through the Petition date.

6. Produce a full and complete copy of any document related to any investment in any

entity, including but not limited to limited liability company, partnership, limited partnership,
corporation, sole proprietorship, cooperative, and/or S Corporation from January 1, 2006 through
the Petition date.

7. Produce a full and complete copy of any K-1 you received from any entity, including
but not limited to limited liability company, partnership, limited partnership, corporation, sole
proprietorship, cooperative, and/or S Corporation from January 1, 2006 through the Petition date.

8. Produce a full and complete copy, front and back, of any check written from any
account you own or which you have any rights, which was made payable to your wife Nicolle S.
Witt from January 1, 2006 through the Petition date.

9. Produce a copy of any loans for which you are the lender to any person or entity from
January 1, 2006 through the Petition date.

10, Produce a copy of any loans for which you are the borrower from any person or
entity from January 1, 2006 through the Petition date.

 
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11. Produce a copy of your tax returns for each tax year including tax year 2006
through the Petition date.

12, Produce any documentation of any kind reflecting any gifts given and/or received
in excess of $1,000.00 to or from any person or entity from January 1, 2006 through the Petition
date.

Exhibit A-2
REQUESTS FOR PRODUCTION OF DOCUMENTS FROM NICOLLE WITT

1. Produce a full and complete copy of any bank statements for any account held by
you, whether held individually or jointly with any other person or entity since January 1, 2006
through the Petition date.

2. Produce a full and complete copy of all documents reflecting or related any real or

personal property purchased from January 1, 2006 through the Petition date, with a purchase
price in excess of $1,000.00, including but not limited to (a) marketable securities, (b) bonds, (c)
mutual funds, (d) precious metals, (e) fractional interests in real estate or mineral rights, (f)
commodities, livestock, or futures in commodities or livestock, and/or (g) jewelry, gems, and/or
gold.

3, Produce a full and complete copy of any statements or any documents reflecting or
related to any insurance policies, annuities, and/or leases for real or personal property from
January 1, 2006 through the Petition date.

4. Produce a full and complete copy of any statements for any account for which you are

an owner or a beneficiary in any way from January 1, 2006 through the Petition date, including
but not limited to: (a) savings accounts, (b) certificates of deposit, (c) Individual Retirement
Accounts, (d) 401(k) accounts, (¢) Simplified Employee Pension Plan, (f) Roth accounts, (g)
pension accounts, (h) annuities, and/or (h) profit sharing accounts.

5. Produce a full and complete copy of any credit card statements or accounts from
January 1, 2006 through the Petition date.

6. Produce a full and complete copy of any document related to any investment in any

entity, including but not limited to limited liability company, partnership, limited partnership,
corporation, sole proprietorship, cooperative, and/or S Corporation from January 1, 2006 through
the Petition date.

7, Produce a full and complete copy of any K-1 you received from any entity, including
but not limited to limited liability company, partnership, limited partnership, corporation, sole
proprietorship, cooperative, and/or S Corporation from January 1, 2006 through the Petition date.

8. Produce a full and complete copy, front and back, of any check written from any
account you own or which you have any rights, which was made payable to your husband
Matthew C. Witt from January 1, 2006 through the Petition date.

 
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9, Produce a copy of any loans for which you are the lender to any person or entity from
January 1, 2006 through the Petition date.

10. Produce a copy of any loans for which you are the borrower from any person or
entity from January 1, 2006 through the Petition date.

11. Produce a copy of your tax returns for each tax year including tax year 2006 through
the Petition date.

12. Produce any documentation of any kind reflecting any gifts given and/or received in
excess of $1,000.00 to or from any person or entity from January 1, 2006 through the Petition
date.

Exhibit A-3
REQUESTS FOR PRODUCTION OF DOCUMENTS FROM
PINNACLE MASTERY, LTD.

1. Produce a full and complete copy of any bank statements for Pinnacle Mastery, Ltd.,
whether individually or jointly with any other person or entity from the date the entity was
formed through the Petition date.

2. Produce copies of any and all meeting minutes of Pinnacle Mastery, Ltd. from the
date the entity was formed through the Petition date.

3. Produce full and complete copies of any loans issued from Pinnacle Mastery, Ltd. to
any person or entity from the date the entity was formed through the Petition date.

4. Produce full and complete copies of all distributions issued from Pinnacle Mastery,

Ltd to any person or entity from the date the entity was formed through the Petition date.
Distributions shall include, but is not limited to, dividends, compensation, advances, and/or
bonuses.

5. Produce the tax returns or any informational returns generated or filed for Pinnacle
Mastery, Ltd. from the date the entity was formed through the Petition date.

6. Produce any and all bank account ledger(s) for Pinnacle Mastery, Ltd. from the date
the entity was formed through the Petition date.

7. Produce copies of any and all checks issued by Pinnacle Mastery, Ltd. from the date
the entity was formed through the date you respond to the Petition date.

8. Produce a full and complete copy of all documents reflecting or related any real or

personal property purchased by Pinnacle Mastery, Ltd., Inc. from the date the entity was formed
through the Petition date, with a purchase price in excess of $1,000.00, including but not limited
to (a) marketable securities, (b) bonds, (c) mutual funds, (d) precious metals, (e) fractional

 
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interests in teal estate or mineral rights, (f) commodities, livestock, or futures in commodities or
livestock, and/or (g) jewelry, gems, and/or gold.

9. Produce a full and complete copy of any statements or any documents reflecting or

related to any insurance policies, annuities, and/or leases for real or personal property of Pinnacle
Mastery, Ltd. from the date the entity was formed through the Petition date.

10. Produce a full and complete copy of any statements for any account for which

Pinnacle Mastery, Ltd. is an owner or a beneficiary in any way from the date the entity was
formed through the Petition date, including but not limited to: (a) savings accounts, (b)
certificates of deposit, (c) Individual Retirement Accounts, (d) 401(k) accounts, (e) Simplified
Employee Pension Plan, (f) Roth accounts, (g) pension accounts, (h) annuities, and/or (h) profit
sharing accounts.

11. Produce a full and complete copy of any credit card statements or accounts of
Pinnacle Mastery, Ltd. from the date the entity was formed through the Petition date.

12. Produce a full and complete copy of any document related to any investment of
Pinnacle Mastery, Ltd. in any entity, including but not limited to limited liability company,
partnership, limited partnership, corporation, sole proprietorship, cooperative, and/or 8
Corporation from the date the entity was formed through the Petition date.

13. Produce a full and complete copy of any K-1 issued by Pinnacle Mastery, Ltd. from
the date the entity was formed through the Petition date.

Exhibit A-4
REQUESTS FOR PRODUCTION OF DOCUMENTS FROM MILE HIGH DIESEL, INC.

1. Produce a full and complete copy of any bank statements for Mile High Diesel, Inc.,
whether individually or jointly with any other person or entity from the date the entity was
formed through the Petition date.

2. Produce copies of any and all meeting minutes of Mile High Diesel, Inc. from the
date the entity was formed through the Petition date.

3. Produce full and complete copies of any loans issued from Mile High Diesel, Inc. to
any person or entity from the date the entity was formed through the Petition date.

4. Produce full and complete copies of all distributions issued from Mile High Diesel,

Inc. to any person or entity from the date the entity was formed through the Petition date.
Distributions shall include, but is not limited to, dividends, compensation, advances, and/or
bonuses.

5. Produce the tax returns or any informational returns generated or filed for Mile High
Diesel, Inc. from the first year the entity was formed through the Petition date.

6. Produce any and all bank account ledger(s) for any and all bank accounts of for Mile

 

 
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High Diesel, Inc. from the date the entity was formed through the Petition date.

7. Produce copies of any and all checks, front and back, issued by for Mile High Diesel,
Inc. from the date the entity was formed through the Petition date.

8. Produce a full and complete copy of all documents reflecting or related any real or

personal property purchased by Mile High Diesel, Inc. from the date the entity was formed
through the Petition date, with a purchase price in excess of $1,000.00, including but not limited
to (a) marketable securities, (b) bonds, (c) mutual funds, (d) precious metals, (e) fractional
interests in real estate or mineral rights, (f) commodities, livestock, or futures in commodities or
livestock, and/or (g) jewelry, gems, and/or gold.

 

9. Produce a full and complete copy of any statements or any documents reflecting or

related to any insurance policies, annuities, and/or leases for real or personal property of Mile
High Diesel, Inc. from the date the entity was formed through the Petition date.

10. Produce a full and complete copy of any statements for any account for which Mile

High Diesel, Inc. is an owner or a beneficiary in any way from the date the entity was formed
through the Petition date, including but not limited to: (a) savings accounts, (b) certificates of
deposit, (c) Individual Retirement Accounts, (d) 401(k) accounts, (e) Simplified Employee
Pension Plan, (£) Roth accounts, (g) pension accounts, (h) annuities, and/or (h) profit sharing
accounts.

 

11. Produce a full and complete copy of any credit card statements or accounts of Mile
High Diesel, Inc. from the date the entity was formed through the Petition date.

12. Produce a full and complete copy of any document related to any investment of Mile
High Diesel, Inc. in any entity, including but not limited to limited liability company, |
partnership, limited partnership, corporation, sole proprietorship, cooperative, and/or S$ |
Corporation from the date the entity was formed through the Petition date.
13. Produce a full and complete copy of any K-1 issued by Mile High Diesel, Inc. from

the date the entity was formed through the Petition date.

Exhibit A-5
REQUESTS FOR PRODUCTION OF DOCUMENTS FROM
SILVER LEAF MORTGAGE, INC.

1. Produce a full and complete copy of any bank statements for Silver Leaf Mortgage,
Inc., whether individually or jointly with any other person or entity from the date the entity was
formed through the Petition date.

2. Produce copies of any and all meeting minutes of Silver Leaf Mortgage, Inc. from
the date the entity was formed through the Petition date.

3. Produce full and complete copies of any loans issued from Silver Leaf Mortgage,
Inc. to any person or entity from the date the entity was formed through the Petition date.
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4. Produce full and complete copies of all distributions issued from Silver Leaf

Mortgage, Inc. to any person or entity from the date the entity was formed through the Petition
date. Distributions shall include, but is not limited to, dividends, compensation, advances, and/or
bonuses.

5. Produce the tax returns or any informational returns generated or filed for Silver Leaf
Mortgage, Inc. from the date the entity was formed through the Petition date.

6. Produce any and all bank account ledger(s) for Silver Leaf Mortgage, Inc. from the
date the entity was formed through the Petition date.

7. Produce copies of any and all checks issued by Silver Leaf Mortgage, Inc. from the
date the entity was formed through the Petition date.

8. Produce a full and complete copy of all documents reflecting or related any real or

personal property purchased by Silver Leaf Mortgage, Inc., Inc. from the date the entity was
formed through the Petition date, with a purchase price in excess of $1,000.00, including but not
limited to (a) marketable securities, (b) bonds, (c) mutual funds, (d) precious metals, (e)
fractional interests in real estate or mineral rights, (f) commodities, livestock, or futures in
commodities or livestock, and/or (g) jewelry, gems, and/or gold.

9. Produce a full and complete copy of any statements or any documents reflecting or
related to any insurance policies, annuities, and/or leases for real or personal property of Silver
Leaf Mortgage, Inc. from the date the entity was formed through the Petition date.

10, Produce a full and complete copy of any statements for any account for which Silver

Leaf Mortgage, Inc. is an owner or a beneficiary in any way from the date the entity was formed
through the Petition date, including but not limited to: (a) savings accounts, (b) certificates of
deposit, (c) Individual Retirement Accounts, (d) 401(k) accounts, (e) Simplified Employee
Pension Plan, (£) Roth accounts, (g) pension accounts, (h) annuities, and/or (h) profit sharing
accounts.

11. Produce a full and complete copy of any credit card statements or accounts of Silver
Leaf Mortgage, Inc. from the date the entity was formed through the Petition date.

12. Produce a full and complete copy of any document related to any investment of

Silver Leaf Mortgage, Inc. in any entity, including but not limited to limited liability company,
partnership, limited partnership, corporation, sole proprietorship, cooperative, and/or S
Corporation from the date the entity was formed through the Petition date.

13. Produce a full and complete copy of any K-1 issued by Silver Leaf Mortgage, Inc.
from the date the entity was formed through the Petition date.

 

 
